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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

NANCY REED-MURRY,
CHERYL GREENFIELD, and
STEPHANIE ROBINSON on behalf              CIVIL ACTION NO. 1:15-CV-00731-
of themselves and all others similarly    WSD
situated,

             Plaintiffs

v.

CENTENE CORPORATION,
CENTENE MANAGEMENT
COMPANY, LLC, and PACE
STAFFING ALTERNATIVES, INC.
D/B/A EXECUTIVE BUSINESS
SOLUTIONS,

             Defendants.


              JOINT MOTION TO APPROVE SETTLEMENT

      Defendants Centene Corporation, Centene Management Company, LLC,

and Pace Staffing Alternatives, Inc. D/B/A Executive Business Solutions

(collectively “Defendants”) and Plaintiffs Nancy Reed-Murry, Cheryl Greenfield,

and Stephanie Robinson (collectively “Plaintiffs”) (collectively the “Parties”),

respectfully jointly move the Court to: (1) conduct a review of the proposed

Settlement Agreement and General Release (“Settlement Agreement”) which the
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Parties are concurrently filing with the Court; (2) approve the Settlement

Agreement entered into between the Parties; and (3) enter an Order dismissing

with prejudice all of the claims alleged in the lawsuit against Defendants by

Plaintiffs. In support of this Motion, the Parties submit a Memorandum of Law

and incorporate it by reference.

      The Parties respectfully request that this Court grant this Motion and enter

the proposed Order approving the Settlement Agreements and dismissing this

action with prejudice.

      Respectfully submitted this 14th day of April, 2016.

/s/ Steven Eric Wolfe                       /s/ Tracey T. Barbaree
Louise N. Smith                             Tracey T. Barbaree
Georgia Bar No. 131876                      Georgia Bar No. 036792
louise@smithlaw-llc.com                     tbarbaree@littler.com
William J. Smith                            Angelo Spinola
Georgia Bar No. 710280                      Georgia Bar No. 672191
William@smithlaw-llc.com                    aspinola@littler.com
Smith Law, LLC                              Marcia A. Ganz
P. O. Box 1396                              Georgia Bar No. 320317
Dacula, GA 30019                            mganz@littler.com
678.691.5676                                Jennifer B. Miller
                                            Georgia Bar No. 614520
Eleanor Mixon Attwood                       jbmiller@littler.com
Georgia Bar No. 514014                      Littler Mendelson, P.C.
emattwood@law-llc.com                       3344 Peachtree Road N.E.
Steven Eric Wolfe                           Suite 1500
Georgia Bar No. 142441                      Atlanta, GA 30326.4803
sewolfe@law-llc.com                         404.233.0330
Legare, Attwood & Wolfe, LLC



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400 Colony Square                        Attorneys for Defendants
Suite 1000
1201 Peachtree Street, NE
Atlanta, GA 30361
470.823.4000

Attorneys for Plaintiffs




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                         FONT CERTIFICATION


     Pursuant to Local Rule 7.1D, the undersigned hereby certifies that this

pleading complies with the font requirements of Local Rule 5.1C because this

document has been prepared in Times New Roman, 14-point type.


                                      /s/ Tracey T. Barbaree
                                      Tracey T. Barbaree
                                      Attorney for Defendants




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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 NANCY REED-MURRY,
 CHERYL GREENFIELD, and
 STEPHANIE ROBINSON on behalf                 CIVIL ACTION NO. 1:15-CV-00731-
 of themselves and all others similarly       WSD
 situated,

              Plaintiffs

 v.

 CENTENE CORPORATION,
 CENTENE MANAGEMENT
 COMPANY, LLC, and PACE
 STAFFING ALTERNATIVES, INC.
 D/B/A EXECUTIVE BUSINESS
 SOLUTIONS,

              Defendants.


                           CERTIFICATE OF SERVICE

      I hereby certify that, on this 14th day of April, 2016, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will send

notification of such filing to the following counsel of record:

                                 Louise N. Smith
                                 William J. Smith
                                SMITH LAW, LLC
                                 P. O. Box 1396
                                Dacula, GA 30019




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                    Eleanor M. Attwood
                       Steven E. Wolfe
               Legare, Attwood & Wolfe, LLC
                     400 Colony Square
                          Suite 1000
                 1201 Peachtree Street, NE
                     Atlanta, GA 30361


                                 /s/ Tracey T. Barbaree
                                 Tracey T. Barbaree
                                 Georgia Bar No. 036792
                                 Attorney for Defendants




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